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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


  MICROSOFT CORPORATION,
              Plaintiff,
                                                     No. 1:24-cv-2323-MSN-WEF
        v.

  ARIAN YADEGARNIA, RICKY YUEN,
  ALAN KRYSIAK, PHAT PHUNG TAN,
  AND DOES 4-10 OPERATING AN AZURE
  ABUSE NETWORK,
                Defendants.


                                              ORDER

         This matter is before the Court on its own initiative as a result of Plaintiff’s proposed

  summonses regarding the Amended Complaint (Dkt. 42).

         Plaintiff requests issuance of summonses to current Defendants but does not specify the

  means by which Plaintiff intends to serve such summonses. (See Dkt. 42). Plaintiff has now

  identified the specific countries in which each Defendant appears to reside (See Dkt. 39 at 3–5),

  including one Defendant (Doe 5 – “Jorge” – Dkt. 39 at 4) who is believed to reside in the United

  States, but the proposed summonses do not identify specific addresses or other

  contact information for any Defendant (except for email addresses for some Defendants). (See

  generally Dkt. 42).

         Accordingly, it is hereby

         ORDERED that within seven (7) days of the entry of this Order, Plaintiff will explain to

  this Court (1) how it intends to serve the summonses on the current Defendants; and (2) why

  such methods would be proper under Federal Rule of Civil Procedure 4; and it is further

         ORDERED that to the extent that Plaintiff seeks alternative foreign service pursuant to
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  Rule 4(f)(3), or any other means of service permitted only by leave of court, it must move the

  Court for such relief within seven (7) days of the entry of this Order. 1

           ENTERED this 13th day of March, 2025.




                                                       WILLIAM E. FITZPATRICK
                                                       UNITED STATES MAGISTRATE JUDGE
  Alexandria, Virginia




  1
           Plaintiff previously requested, and the Court allowed, alternative email service of the original Complaint
  (Dkts. 12, 25), but Plaintiff never requested, nor did the Court grant, alternative service of the Amended Complaint.

           Additionally, the Court also ordered that “if Plaintiff Microsoft discovers that any of the defendant Does
  are domestic persons, it shall so advise the Court at the January 10, 2025 status conference and state why service of
  process by email on a domestic person is sufficient or the manner it intends to effect service of process on a
  domestic person in accordance with the Federal Rules of Civil Procedure.” (Dkt. 25 at 2). Although the case has
  progressed past the January 10 status conference, the Court’s underlying concern remains given that Plaintiff has
  now identified Doe 5 “Jorge” as apparently residing in the United States.
